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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                       X
  MOSES STRAUSS, et al.,

                                Plaintiffs,
                                                               Case No. 06-CV-702 (DLI) (RIL)
                  - against -

  CRÉDIT LYONNAIS, S.A.,

                                Defendant.
                                                       X
  BERNICE WOLF, et al.,

                                Plaintiffs,

                  - against -                                  Case No. 07-CV-914 (DLI) (RIL)

  CRÉDIT LYONNAIS, S.A.,

                                Defendant.
                                                       X

                                  NOTICE OF CROSS-APPEAL

          Notice is hereby given that Crédit Lyonnais, S.A. ("CL"), defendant in the above-

  captioned actions, hereby cross-appeals to the United States Court of Appeals for the Second

  Circuit from such portions of the District Court's order, dated March 31, 2016, ECF No. 403 (the

  "Order" ),1 which was made final on the date judgment was entered on March 31, 2019, ECF No.

  481, that denied CL's motion to dismiss or for summary judgment based on lack of personal

  jurisdiction.

          CL cross-appeals from the Order because it is unclear whether the Court of Appeals'

  holding in Swatch Grp. Mgmt. Sews. Ltd. v. Bloomberg L.P., 756 F.3d 73, 92-93 (2d Cir. 2014),

  that a party in whose favor judgment was entered lacks standing to file a cross-appeal to


   Unless otherwise noted, all citations are to the docket Straиss et al., v. CтéditLyoпnais S.A.,
  No. 06 Civ. 0702 (DLI) (RIL).
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  challenge an adverse interlocutory order (but may challenge such interlocutory orders as

  alternative grounds for affirmance) also applies to an interlocutory order addressing the hon-

  merits defense of personal jurisdiction. See, e.g., New Haтpshiтe Iпs. Co. v. Sphere Drake Ins.

  Ltd., 51 F. App'x 342, 344 (2d Cir. 2002) (holding defendants who won below "waived any

  objections based on personal jurisdiction" including by "failing to appeal the district court's

  ruling on the issue"); Koupetoris v. Kinkar Intrepid Corp., 535 F.2d 1392, 1394 (2d Cir. 1976)

  (considering cross-appeal of district court order finding personal jurisdiction over defendant,

  notwithstanding that defendant was granted judgment on other grounds); Hanly v. Powell

  Goldstein, L.L.P., 290 F. App'x 435, 437 (2d Cir. 2008) (same). Accordingly, CL files this

  cross-appeal solely to preserve its right to appeal from the Order with respect to personal

  jurisdiction.


  Dated: New York, New York
         April 26, 2019

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